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  CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER                  CITY DEFS - 006345
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                                                                 -r
                                                                   TRAINING



                                                         TASER Training Version 20.2
              This document is not needed if class registered in Axon Academy (emailtraininq@taser.com for details)

                        TASER®            CEW         User        Applicant             Certification               Form




                                                   New        User       Certification




                                                  PRINT LEGIBLY AND CLEARLY PLEASE!

    Which CEWs were you certified on (Check all that apply):                            M26           X26      X26P               X3

    Name:                                         5’                            Agency: IfO(                 fLfOtVflJ,
    Email:                                                                      Phone:



    By signing below, I hereby acknowledge receipt of TASER’s Product Warnings. I understand that I must Read and
    understand these warnings PRIOR to participating in any hands-on CEW drills required by this certification Course.

    Student   Signature:   (Required)

    TASER Instructor Use OIy
    Instructor is required to verify that applicant has successfully completed all CEW User Certification requirements.

   CJYrest must be completed with score of 100% (remediate as needed)
                   Completed TASER CEW online course

               Review entire Version 20.2 User Certification Course PowerPoint Presentation(s) & training bulletins
                 applicable)      Completed TASER CEW online course

   Demonstrate safe handling of CEW to include: proper finger positioning, aiming and deploying at preferred target
area and while loading I unloading

       —       Deploy a minimum of 2 live cartridges (for each weapon certification), placing both probes in preferred target zones

               Perform a proper warning ARC

     —         (X2 & X3) Utilize the ARC switch to re-energize deployed probes

    I hereby certify that the above-named applicant has satisfactorily completed all components of the TASER User Certification training
    program and is hereby certified as a user of this system for one year.

    Affested by Certifying Instructor:
                                             (Print Name)                               (Signature)

    Date:    5/7 / I                                    Location of Training:              5Ni (            ftLfY4n1fra
                                        Do not Send this Form to TASER Training
                                     Keep this Form for Department Training Records



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